Case 1:23-cv-00108-LMB-JFA Document 1163 Filed 08/16/24 Page 1 of 2 PageID# 84602




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


    UNITED STATES, et al.,

                          Plaintiffs,

          v.                                          No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.



   GOOGLE LLC’S MOTION IN LIMINE TO EXCLUDE NON-PARTY LAY OPINIONS
     REGARDING GOOGLE’S ALLEGED MONOPOLY OR ANTICOMPETITIVE
                               CONDUCT

         Defendant, Google LLC (“Google”), moves the Court to enter an order excluding certain

  lay opinions regarding Google’s alleged monopoly or anticompetitive conduct. The grounds and

  reasons for granting this motion are stated with particularity in the accompanying memorandum

  of law and attached exhibits. A proposed order is submitted herewith.
Case 1:23-cv-00108-LMB-JFA Document 1163 Filed 08/16/24 Page 2 of 2 PageID# 84603




   Dated: August 16, 2024              Respectfully submitted,

   Eric Mahr (pro hac vice)            /s/ Craig C. Reilly
   Andrew Ewalt (pro hac vice)         Craig C. Reilly (VSB # 20942)
   Julie Elmer (pro hac vice)          THE LAW OFFICE OF
   Lauren Kaplin (pro hac vice)        CRAIG C. REILLY, ESQ.
   Jeanette Bayoumi (pro hac vice)     209 Madison Street
   Claire Leonard (pro hac vice)       Alexandria, VA 22314
   Sara Salem (pro hac vice)           Telephone: (703) 549-5354
   Tyler Garrett (VSB # 94759)         Facsimile: (703) 549-5355
   FRESHFIELDS BRUCKHAUS               craig.reilly@ccreillylaw.com
   DERINGER US LLP
   700 13th Street, NW, 10th Floor     Karen L. Dunn (pro hac vice)
   Washington, DC 20005                Jeannie H. Rhee (pro hac vice)
   Telephone: (202) 777-4500           William A. Isaacson (pro hac vice)
   Facsimile: (202) 777-4555           Joseph Bial (pro hac vice)
   eric.mahr@freshfields.com           Amy J. Mauser (pro hac vice)
                                       Martha L. Goodman (pro hac vice)
   Daniel Bitton (pro hac vice)        Bryon P. Becker (VSB #93384)
   AXINN, VELTROP & HARKRIDER LLP      Erica Spevack (pro hac vice)
   55 2nd Street                       PAUL, WEISS, RIFKIND, WHARTON &
   San Francisco, CA 94105             GARRISON LLP
   Telephone: (415) 490-2000           2001 K Street, NW
   Facsimile: (415) 490-2001           Washington, DC 20006-1047
   dbitton@axinn.com                   Telephone: (202) 223-7300
                                       Facsimile (202) 223-7420
   Bradley Justus (VSB # 80533)        kdunn@paulweiss.com
   AXINN, VELTROP & HARKRIDER LLP
   1901 L Street, NW                   Meredith Dearborn (pro hac vice)
   Washington, DC 20036                PAUL, WEISS, RIFKIND, WHARTON &
   Telephone: (202) 912-4700           GARRISON LLP
   Facsimile: (202) 912-4701           535 Mission Street, 24th Floor
   bjustus@axinn.com                   San Francisco, CA 94105
                                       Telephone: (646) 432-5100
                                       Facsimile: (202) 330-5908
                                       mdearnborn@paulweiss.com


                                       Counsel for Defendant Google LLC
